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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  In Re:                                          )
  The Application of:                             )
                                                  ) Case No.: 1:19-mc-00084-JPH-TAB
  ELI SABAG, for an Order Pursuant to             )
  28 U.S.C. § 1782 to Conduct Discovery           )
  for Use in Foreign Proceedings.                 )

                        SUPPLEMENTARY REQUEST FOR DISCOVERY
                           IN ACCORDANCE WITH 28 U.S.C. § 1782

           Comes now, the Section 1782 Applicant, Eli Sabag (“Mr. Sabag”), through counsel, to

  supplement his Section 1782 Application with a request to depose Intervenor Lars Windhorst

  (“Windhorst”) in Indiana by videotaped deposition in accordance with 28 U.S.C. § 1782. The

  proposed notice of deposition and subpoena for Lars Windhorst is attached hereto as Exhibit A.

      I.      Background and History

           On July 28, 2021, this Court granted Mr. Sabag’s Section 1782 Application to obtain

  discovery from Marion County Community Corrections (“MCCC”) and its employees for use in a

  “reasonably contemplated” U.K. criminal proceedings against Windhorst. 1 [Doc. 89]. Mr. Sabag

  has alleged that Windhorst committed various British crimes, including the bribery of an MCCC

  official, securities fraud, and common law fraud. [Doc. 9, p. 8-9; Doc. 6-1, pp. 2-3].

           In May 2020, Windhorst was granted the right to intervene [Doc. 54] in these proceedings,

  and he has repeatedly claimed that (1) Mr. Sabag did not reasonably contemplate any U.K. criminal

  proceedings, and (2) the Section 1782 discovery that Mr. Sabag was seeking was actually “for use”

  in an unrelated ICDR arbitration taking place in New York.



  1
   This Court had originally approved Mr. Sabag’s Section 1782 Application on January 31, 2020, but it later
  vacated its own Order on August 18, 2020. [Doc. 13; Doc. 69].



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            In October 2021, Mr. Sabag and the U.K. Serious Fraud Office (“SFO”) established direct

  communications regarding the actions of Windhorst as described by Mr. Sabag in his Section 1782

  Application. Mr. Sabag has attached a second affidavit to confirm that his communications with

  SFO continue into the present period. See Exhibit B, ¶ 4. 2

            As a result of this Section 1782 proceeding, Mr. Sabag has thus far discovered, for example,

  that the 18-year-old son of both the Executive Director and the Deputy Director of MCCC was

  hired by Intervenor Track Group, Inc. (“Track Group”) (then controlled by Windhorst) shortly

  after Track Group won a multi-million dollar contract from MCCC. At the time of the hiring,

  Track Group was bidding for an even larger contract with MCCC, which it later won. 3 But for

  Mr. Sabag’s efforts to pursue Section 1782 discovery (and despite Windhorst’s vigorous efforts to

  vacate that discovery), such information would not have been available to Mr. Sabag, nor to the

  U.K. criminal authorities.

            In August 2022, Mr. Sabag entered into a settlement agreement with Track Group, Sapinda

  Asia Limited (BVI) (“Sapinda Asia”), and Windhorst to resolve the ICDR arbitration matter.

  Track Group reported the settlement as a “material event” on its SEC Form 8-K, and it attached a

  copy of the settlement agreement to its SEC filing. According to the published terms of the

  agreement, 4 Track Group agreed to pay Mr. Sabag $1.6 million. The settlement agreement also


  2
    Windhorst has also been the recent target of a German criminal investigation. See Financial Times, Lars
  Windhorst under investigation by criminal prosecutors (July 5, 2021) (“The Berlin prosecution office is
  investigating [Windhorst] over the suspected violation of the German banking act,” prosecutors told the
  Financial Times, adding that they acted after financial watchdog BaFin filed a criminal complaint.”).
  https://www.ft.com/content/28df16c7-fbec-4898-8792-3fad9986fc77.
  3
    Windhorst would later claim that he was relieved of paying Mr. Sabag tens of millions of dollars under his “put
  option agreement” with Mr. Sabag because MCCC’s first contract with Track Group was exactly 18 months
  (rather than the 6 month term that the MCCC Advisory Board had actually authorized). Mr. Sabag has provided
  extensive details regarding the last-minute changes that were advanced by the Executive Director of MCCC (due
  to supposed oversight) that led to the modified 18-month term for Track Group. [Doc. 9, pp. 27-45].
  4
      See https://trackgrp.com/wp-content/uploads/2022/06/TRCK-8K.pdf.


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  included an unpublished “Schedule A” in which Windhorst/Sapinda Asia agreed to pay Mr. Sabag

  $2.8 million. Track Group later made its full settlement payment of $1.6 million to Mr. Sabag,

  and it has agreed to withdraw as an intervenor in this proceeding.                        On the other hand,

  Windhorst/Sapinda Asia breached the settlement agreement by failing to make their promised

  payment. 5 Windhorst/Sapinda Asia would later negotiate an amended settlement agreement with

  Mr. Sabag under which Mr. Sabag would receive an additional $50,000 in exchange for providing

  Windhorst/Sapinda Asia with additional time to pay the full settlement amount. Notwithstanding

  this amendment, Windhorst/Sapinda Asia would once again fail to make their promised settlement

  payment.

          The ICDR arbitrator would later declare Windhorst/Sapinda Asia in breach of the

  settlement agreement, and the arbitrator would grant a final award to Mr. Sabag against

  Windhorst/Sapinda Asia (as jointly and severally liable parties) in the amount of $2.85 million

  (plus various costs and interest). 6 Accordingly, Windhorst can no longer speculate that Mr. Sabag

  intends to use his Section 1782 discovery from this proceeding for the ICDR arbitration.




  5
    Windhorst has a history of dishonoring his settlement agreements. See e.g., Heritage Travel and Tourism v.
  Windhorst, England and Wales High Court (Commercial Court), August 27, 2021 (finding Windhorst arguments
  to       avoid        honoring         his        settlement        agreement           as       “unsatisfactory”)
  https://www.casemine.com/judgement/uk/612db96e2c94e035561f4fab. Mr. Sabag considered the settlement
  agreement with Windhorst as causing partial remediation/restitution for Windhorst’s criminal acts against Mr.
  Sabag. Windhorst’s failure to honor his settlement obligation, however, leaves Mr. Sabag as a continued victim
  without any remediation/restitution. In 2009, the German criminal authorities ordered Windhorst, as a part of a
  criminal plea agreement in a fraud case, to pay restitution of £2.5 million to his alleged victim as well as a fine
  of £1 million. By admitting to a lesser “breach of the trust” offense with the German criminal authorities,
  Windhorst was able to obtain a one-year suspended sentence to avoid jail time.                                 See
  https://www.globalcapital.com/asia/article/28mtprvln953z7atop7uo/people-and-markets/goldman-sachs-
  worked-with-windhorst-despite-compliance-alert.
  6
   Mr. Sabag confirms the facts (described above) relating to the ICDR arbitration through his second affidavit.
  See Exhibit B, ¶ 7.


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          Mr. Sabag now seeks to depose Mr. Windhorst with respect to the reasonably contemplated

  (and/or actual) investigations taking place in the United Kingdom that formed the basis for this

  Court’s Order approving Mr. Sabag’s Section 1782 Application.

          In this Court’s Section 1782 Order, it also approved a protective order proposed by

  Windhorst to limit Mr. Sabag’s “use” of his Section 1782 discovery to the contemplated U.K.

  criminal proceedings that Mr. Sabag described in his Application. [Doc. 89, p. 10]. Accordingly,

  Mr. Windhorst asked for and was granted full protections under Rule 26(c) against any possible

  misuse of the discovery that is being used to pursue criminal charges against him. Mr. Windhorst

  was also granted the right, as an intervening party, to fully participate in the Section 1782 discovery

  that may be used by the U.K. criminal authorities against him. This Court has fully protected Mr.

  Windhorst’s “foreign” criminal rights far beyond any right that Windhorst may enjoy under the

  U.K. criminal laws. 7

          Windhorst obviously has highly relevant information regarding the crimes that he is alleged

  to have committed in the United Kingdom, and this Court has personal jurisdiction over Windhorst

  to authorize his deposition.

          As demonstrated below, this supplemental request for discovery satisfies all of the statutory

  and discretionary factors under Section 1782. The factual basis for Mr. Sabag’s assertions is once

  again found in Mr. Sabag’s original Section 1782 Application as well as the affidavit from Solicitor

  Bibby supporting Mr. Sabag’s Section 1782 Application. As this Court previously found:




  7
    As Solicitor Peter Bibby (“Solicitor Bibby”) explained with respect to Windhorst’s actual rights to participate
  in a U.K. investigation, “The investigation is an independent process which gathers the evidence, and then the
  evidence is collated and provided to a prosecutor who will take a decision on whether to prosecute based on the
  test set out in the Code for Crown Prosecutors. . . . However, in making such submissions in advance of a decision
  to prosecute, [the suspect] would have no right of access to the evidence gathered in the course of the
  investigation.” [Doc. 40-1, p. 2].



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           Mr. Bibby’s affidavit []sets forth relevant facts linking the evidence that Mr. Sabag
           seeks to obtain through his § 1782 application to five potential violations of UK
           criminal law that Mr. Sabag alleges that Mr. Windhorst committed. The affidavit
           explains that any discovery “would form part of Mr. Sabag’s report” to several law-
           enforcement agencies in the United Kingdom. It also explains that an agency could
           decide to prosecute Mr. Windhorst, or Mr. Sabag could pursue a private prosecution
           with his own legal team . . . Mr. Bibby’s affidavit provides a detailed analysis of
           the contractual agreements between Mr. Sabag, Track Group, and Mr. Windhorst.
           It then explains Mr. Sabag’s allegations and identifies five specific criminal
           offenses that he believes Mr. Windhorst committed. That affidavit’s detailed legal
           analysis and Mr. Sabag’s sworn statement that he intends to pursue criminal charges
           are “objective indicium that the action is being contemplated” and that criminal
           proceedings in the United Kingdom are not “merely speculative” or “just a twinkle
           in counsel’s eye.”

  [Doc. 80, p. 7-8].

     II.       The Four Section 1782 Statutory Factors

           As explained by this Court in In re Medytox, Inc., No. 2019 WL 3162174, * 4 (S.D. Ind.

  Jul. 16, 2019), a request pursuant to 28 U.S.C. § 1782 must satisfy the following four statutory

  requirements:

           (1) the request must be made “by a foreign or international tribunal,” or by “any
           interested person;” (2) the request must seek evidence, whether it be the “testimony
           or statement” of a person or the production of “a document or other thing;” (3) the
           evidence must be “for use in a proceeding a foreign or international tribunal;” and
           (4) the person from whom discovery is sought must reside or be found in the district
           of the district court ruling on the application for assistance.

  (1) The Request Was Made by an “Interested Person”

           This Court has determined that Mr. Sabag is an “interested person” in the “reasonably

  contemplated” foreign investigation(s) of Windhorst. [Doc. 89, p. 4]. Mr. Sabag is still an

  interested person in the same reasonably contemplated (and/or actual) criminal investigations of

  Windhorst.

  (2) The Request Seeks the Testimony of a Person

           This Motion seeks the sworn deposition testimony of Windhorst.




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  (3) The Evidence is Being Sought for Use in a Proceeding in a Foreign Tribunal

          The evidence will be obtained “for use” in the reasonably contemplated (and/or actual)

  criminal investigation of Windhorst (before charging) in the U.K. This Court has previously ruled

  that the “for use” standard has been satisfied in this case, despite Windhorst’s repeated claims that

  the discovery was being sought “for use” in another proceeding. [Doc. 80, p. 7]. 8

  (4) Windhorst “Is Found” in this District

          Mr. Sabag must also show that Mr. Windhorst “is found” in the Southern District of

  Indiana. The Second Circuit has ruled that “a person or entity ‘resides or is found’ in a district

  when it is subject to personal jurisdiction within that district.” In re del Valle Ruiz, 939 F.3d 520,

  528 (2d Cir. 2019). A large number of district courts outside the Second Circuit have adopted the

  Second Circuit’s interpretation of the phrase “resides or is found” as used in Section 1782. 9

          When Windhorst moved to intervene in this Section 1782 proceeding as a “party” to assert

  his “claims and defenses” (including the privilege to participate in the discovery under Rule 45),

  he waived his right to object to personal jurisdiction or whether he “is found” in the Southern

  District of Indiana. See, e.g., County Sec. Agency v. Ohio Dept. of Commerce, 296 F.3d 477, 483

  (6th Cir. 2002) (“[a] motion to intervene is fundamentally incompatible with an objection to



  8 As Solicitor Bibby informed this Court, “[e]vidence obtained from a person abroad will be used by the Agencies

  to establish whether a formal investigation should be opened and used in the course of an investigation to help
  establish whether offences have been committed.” [Doc. 6-1, ¶ 104]. Moreover, in this Section 1782 proceeding,
  Mr. Sabag is not required to show whether Windhorst’s testimony will be “admissible” in either the
  investigation(s) or the subsequent criminal charges that are brought. See Brandi-Dohrn v. IKB Deutsche
  Insustriebank AG, 673 F.3d 76, 77 (2d Cir. 2012) (“Section 1782(a) contains no requirement that particular
  evidence be admissible in a foreign proceeding to be considered ‘for use in a proceeding in a foreign or
  international tribunal.’”).
  9
   See In re Tovmasyan, 557 F. Supp. 3d 348 (D. P.R. Aug. 20, 2021); Ex parte Under 28 U.S.C. § 1782 to Take
  Discovery from Américo Fialdini Junior, 2021 WL 253455 (D. Colo. Jan. 26, 2021); In re Ex Parte Application
  of Qualcomm Inc., 162 F. Supp. 3d 1029, 1035 (N.D. Cal. 2016); Matter of De Leon, 2020 WL 1047742 (D.
  D.C. Mar. 4, 2020); In re Kurbatova, 2019 WL 2180704 (S.D. Fla. May 20, 2019); In re Servotronics, Inc., 2021
  WL 1521931(D. S.C. Apr. 16, 2021).



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  personal jurisdiction.”); John v. Sotheby’s, Inc., 141 F.R.D. 29, 37 (S.D.N.Y. Feb. 10, 1992)

  (“Finally, by moving to intervene in this action, Dr. Nava has consented to personal jurisdiction.”);

  see also Wright, Miller & Kane, 7C Fed. Prac. & Proc. Civ. § 1920 (3d ed.) (“[T]he intervenor has

  submitted to the personal jurisdiction of the court by seeking to intervene in the action and cannot

  move to dismiss on that ground.”).

          The more recent jurisprudence of the Second Circuit that ties the Section 1782 phrase

  “resides or is found” to “personal jurisdiction” grew out of a 2002 decision of the Second Circuit

  in which it had to interpret the phase in the context of an individual target of the Section 1782

  discovery. Specifically, in In re Edelman, 295 F.3d 171, 178 (2d Cir. 2002), the Second Circuit

  recognized that Congress requires district courts to read Section 1782 consistent with the Federal

  Rules of Civil Procedure, and Rule 45 ties the reach of a district court’s jurisdiction over a party

  to concepts of “personal jurisdiction.” The Second Circuit specifically held:

          We think another part of § 1782(a) supports a flexible reading of the phrase “resides
          or is found.” Section 1782(a) expressly provides that “[t]o the extent that the order
          does not prescribe otherwise, the testimony or statement shall be taken, and the
          document or other thing produced, in accordance with the Federal Rules of Civil
          Procedure.” . . . One of these procedural rules, Rule 45, states: “a subpoena may be
          served at any place within the district of the court by which it is issued.” Fed. R.
          Civ. P. 45(b)(2). The same rule further states that unless a person is a party to the
          litigation or an officer of a party, he cannot be compelled to travel more than 100
          miles from where he resides or works to be deposed. Fed. R. Civ. P. 45(c)(3)(A)(ii).
  Id. at 178.
          Windhorst intervened as a “party” in this matter under Rule 24(b), and he has been provided

  with the right to participate in the discovery (physically taking place in this District) under Rule

  45. Thus, as a party to this proceeding through his own actions, Windhorst can, in fact, be

  compelled to travel more than one hundred miles from where he resides to be deposed in this

  District.




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             The Fourth Circuit recently questioned the Second Circuit’s interpretation of the term “is

  found” to suggest that the term requires a greater form of physical presence (beyond mere

  “personal jurisdiction”) in a district before the statutory requirements of Section 1782 can be

  satisfied. 10 Notwithstanding, the Fourth Circuit conceded that the term “is found” could include

  any corporation that designates an agent for service of process in a particular place, even if the

  corporation was not incorporated there.” See Eli Lilly & Co. v. Novartis Pharma AG, 37 F.4th

  160, 166 (4th Cir. 2022) (citing Neirbo Co. v. Bethlehem Shipbuilding Corp., 308 U.S. 165, 170-

  71 (1939) for the proposition “that a corporation may be ‘found’ in a particular district for venue

  purposes merely because it had consented to be sued there.”). By intervening and participating in

  the discovery taking place in Indiana, Windhorst has designated his lawyers in Indiana to both

  participate in the litigation of matters in Indiana and to conduct activities in Indiana. Windhorst

  obviously cannot use Rule 45 as an intervenor to participate in the deposition of an MCCC official

  (e.g., John Deiter) in Indiana if he is nowhere to be “found” in Indiana under Rule 45. 11

             An Indiana state court also found “personal jurisdiction” over Windhorst in a civil case

  brought by Mr. Sabag in Indiana that arose out of the same facts as this Section 1782 proceeding.

  The state court ruled that Windhorst was engaged in a “joint venture” in Indiana with Intervenor

  Track Group, so Windhorst could be found where the joint venture was found in Indiana. 12

  Windhorst cannot argue that he cannot be found in Indiana when an Indiana state court has ruled

  that he was a partner of an Indiana joint venture with co-Intervenor Track Group.


  10
       See Eli Lilly & Co. v. Novartis Pharma AG, 37 F.4th 160, 167 (4th Cir. 2022).
  11
     Windhorst could have filed his original motion to vacate Mr. Sabag’s Section 1782 Application without
  intervention under Rule 24, but he chose to intervene as a party and to participate in the discovery taking place
  in this District, subjecting himself to the jurisdiction of this Court.
  12
    See Exhibit C (Sabag v. Windhorst et al., 49D14-1805-PL-017647, Order Denying Defendants Sapinda Asia
  Limited and Lars Windhorst’s Motion to Dismiss Plaintiff’s Complaint, issued April 1, 2019).



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     III.       The Section 1782 Discretionary “Intel” Factors

            To the extent that Mr. Sabag has successfully supported his statutory right to Section 1782

  discovery, Section 1782 provides discretion to the Court to approve or deny the requested

  discovery after the Court has evaluated four additional factors:

            (1) whether “the person from whom the discovery is sought is a participant in the
            foreign proceeding;” (2) the “nature of the foreign tribunal, the character of the
            proceedings underway abroad, and the receptivity of the foreign government or the
            court or agency abroad to U.S. federal-court judicial assistance”; (3) whether the
            Section 1782 request conceals “an attempt to circumvent foreign proof-gathering
            restrictions or other policies of a foreign country or the United States”; and (4)
            whether the discovery request includes unduly intrusive or overly burdensome
            requests.

  In re Medytox, 2019 WL 3162174, at *4 (citing Intel Corp. v. Advanced Micro Devices, Inc., 542

  U.S. 241, 264-65 (2004)).

            Courts are required to exercise their discretion taking into account the “twin aims” of

  Section 1782 of “providing efficient assistance to participants in international litigation and

  encouraging foreign countries by example to provide similar means of assistance to our courts.”

  See Intel Corp., 542 U.S. at 252 (internal citation omitted). “The animating purpose of § 1782 is

  comity: Permitting federal courts to assist foreign and international governmental bodies promotes

  respect for foreign governments and encourages reciprocal assistance.” ZF Automotive U.S., Inc.

  v. Luxshare, Ltd., 142 S. Ct. 2078, 2082 (2022).

            Here, each discretionary factor weighs in favor of granting Mr. Sabag’s request to depose

  Windhorst.

  (1) Jurisdictional Reach of Foreign Tribunal--Windhorst is Not a Participant in the
      Investigation

            The first Intel factor provides:

            [W]hen the person from whom discovery is sought is a participant in the foreign
            proceeding . . . the need for § 1782(a) aid generally is not as apparent as it ordinarily



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           is when evidence is sought from a nonparticipant in the matter arising abroad. A
           foreign tribunal has jurisdiction over those appearing before it, and can itself order
           them to produce evidence. In contrast, nonparticipants in the foreign proceedings
           may be outside the foreign tribunal’s jurisdictional reach; thus, their evidence,
           available in the United States, may be unobtainable absent § 1782(a) aid.

  Intel, 542 U.S. at 264.

           Windhorst is not a participant in the reasonably contemplated and actual criminal

  “investigations.” Rather, he is the non-participant “target.” As the Eleventh Circuit and Second

  Circuit have held (and this Court the same), foreign “investigations” themselves are “foreign

  proceedings” within the meaning of § 1782 (even before formal charging). 13

           Even to the extent that that Windhorst is formally charged by the U.K. criminal authorities,

  Windhorst no longer resides in the United Kingdom. [Doc. 25, pp. 9, 13]. As the U.S. Supreme

  Court explained in Intel, “nonparticipants in foreign proceedings may be outside the foreign

  tribunal’s jurisdictional reach; thus, their evidence, available in the United States, may be

  unobtainable absent §1782(a).” Intel, 542 U.S. at 264. Absent this Section 1782 proceeding, the

  U.K. criminal authorities may never have the opportunity to solicit Windhorst’s future testimony

  (except possibly through criminal extradition). 14




  13
     See In re Furstenberg Finance SAS, 785 Fed. App’x 882, 884-85 (2d Cir. 2019); In re Application of
  Furstenberg Finance SAS v. Litai Assets LLC, 877 F.3d 1031 (11th Cir. 2017). This Court has also held,
  “[s]imilarly, in In re Furstenberg Finance SAS, the Second Circuit held that a criminal proceeding was
  reasonably contemplated when applicants and their counsel supported the application with ‘well-documented
  assertions . . . outlining the basis of their intended criminal complaint pending receipt of the evidence sought.’”
  [Doc. 80, p. 8] (internal citations omitted).
  14
     See e.g., In re Republic of Turkey, 2021 WL 3022318, * 5 (N.D. Ill. Jul. 16, 2021) (“None of the respondents
  [i.e., the potential targets of the investigation by Turkey] in this case are participants in the criminal investigations
  or any proceeding underway in Turkey. . . The respondents do not appear to challenge Turkey’s contention that
  the first Intel factor is satisfied.” See also, Eni Ghana Exploration & Prod. Ltd v. Gaffney Cline & Assocs., 2022
  WL 3156224, * 4 (S.D. Tex. Aug. 8, 2022) (“Section 1782 does not require [an applicant] to seek discovery in
  the foreign jurisdiction before seeking the assistance of a district court.”) (citations omitted).



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  (2) The U.K. Criminal Authorities Would Be Receptive to the Evidence Produced in these
      Proceedings.

          This Court has already determined, as supported by Solicitor Bibby’s prior affidavit, that

  the U.K. criminal agencies, including SFO, would be receptive to any evidence that would indicate

  whether Windhorst committed a crime under U.K. laws. [Doc. 80, p. 7]. 15

  (3) This Section 1782 Request Does Not Conceal an Attempt to Circumvent Foreign Proof-
      Gathering Restrictions.

          Windhorst has devoted substantial efforts to discredit Mr. Sabag by asserting that this entire

  Section 1782 proceeding represented a ruse to allow Mr. Sabag to collect evidence to be used in

  an unrelated ICDR arbitration. Windhorst’s arguments have turned out, in hindsight, to conceal

  Windhorst’s own guise to distract this Court from the merits of Mr. Sabag’s U.K. criminal claims.

  Mr. Sabag’s claims and Windhorst’s counterarguments in the ICDR arbitration have been

  addressed and adjudicated, and Mr. Sabag is still pursuing criminal remedies against Windhorst in

  the United Kingdom.

          The Second Circuit has clarified that district courts should not “delve into the mysteries of

  foreign law” in Section 1782 cases, and the “district court’s inquiry into the discoverability of

  requested materials should consider only authoritative proof that a foreign tribunal would reject

  evidence obtained with the aid of section 1782.” Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d

  1095, 1100 (2d Cir. 1995). Windhorst will not be able to offer any “authoritative proof” that the

  U.K. criminal authorities or the U.K. courts would not want to consider Windhorst’s deposition.

  Instead, as set forth in footnote 15, Solicitor Bibby has opined that there was “no basis” in which



  15
    As Solicitor Bibby opined, “There is no basis on which the Agencies would refuse to consider the material
  evidence obtained under this Application as part of their assessment of whether to launch an investigation. . . As
  explained above, discovery obtained under this Application would thereafter be material when drafting the
  particulars of any offence for the purpose of laying an information before the Magistrates’ Court (albeit this will
  have been supplemented by evidence subsequently gathered through further investigation).” [Doc. 6-1, ¶ 106].


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  the U.K. criminal authorities “would refuse to consider material evidence obtained under this

  Application.” [Doc. 6-1, ¶ 106].

          Notwithstanding, even if this Court had reservations about subjecting Windhorst to a

  deposition in the United States based on this Court’s U.S. views regarding a criminal suspect’s

  rights against self-incrimination (which the Second Circuit has strongly suggested district courts

  should not do), the British courts (and/or prosecutor) may, in various circumstances, infer guilt

  against a suspect who refuses to answer questions. 16

  (4) This Section 1782 Request Is Not Unduly Intrusive or Overly Burdensome.

          This Court has previously ruled that Mr. Sabag’s request for discovery from MCCC would

  not be unduly intrusive or overly burdensome as to Windhorst. [Doc. 89, p. 7]. The facts

  surrounding this supplemental request to depose Windhorst himself do not change this Court’s

  previous analysis. Just as an intervenor in civil litigation may not claim that a deposition request

  is unduly intrusive merely because the intervenor may have to admit to civil liability, a criminally

  accused individual who intervenes in a proceeding (and even seeks and receives rights that

  arguably “burden” the investigation) may not suddenly complain because he may be asked to

  answer questions regarding his alleged criminal acts.

          To address Windhorst’s stated “concerns” regarding the potential misuse of the discovery

  materials “outside” the instant proceeding, the Court previously granted Windhorst a protective

  order to limit the use of the MCCC discovery to the U.K. criminal proceedings. 17 [Doc. 89]. Mr.

  Sabag acknowledges that the protective order will also apply to Windhorst’s deposition.


  16
    See e.g., U.K. Crown Prosecution Service website describing “adverse inferences” regarding the failure to
  answer questions under the Criminal Justice and Public Order Act (CJPOA) 1994 (https://www.cps.gov.uk/legal-
  guidance/adverse-inferences).
  17
    When addressing the fourth Intel factor regarding unduly burdensome discovery requests, the Second Circuit
  has adopted the view that “it is far preferable for a district court to reconcile whatever misgivings it may have


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          Windhorst has repeatedly noted to his benefit in this proceeding that Section 1782 draws

  from the Federal Rules of Civil Procedure, not the Federal Rules of Criminal Procedure. 18 This

  Court owes Windhorst no special criminal protections. In fact, Windhorst has used the Federal

  Rules of Civil Procedure to obtain special rights to participate in a criminal investigation that no

  other U.K. criminal target would normally enjoy. Following the 2015 Amendments to the Federal

  Rules of Civil Procedure, requests for discovery should be proportional, “considering the

  importance of the issues at stake in the action, the amount in controversy, the parties’ relative

  access to relevant information, the parties’ resources, the importance of the discovery in resolving

  the issues, and whether the burden or expense of the proposed discovery outweighs its likely

  benefit.” Fed. R. Civ. P. 26(b)(1). Furthermore, the information to be obtained through discovery

  need not be admissible to be discoverable. Id.

          Mr. Sabag’s Section 1782 discovery has uncovered that Windhorst’s company hired the

  son of an Indiana public official shortly after the public official directed a multi-million-dollar

  contract to the company in a very suspect manner (and while the company was being considered

  for a larger contract, which it later won). The U.K. criminal authorities have a right to apply their

  own laws in the context of the indisputable facts, and U.S. district courts are not tasked with the

  responsibility of subjectively analyzing the merits of the foreign legal claims (as Windhorst will

  seek for this Court to do through his creative rhetoric). See In re Furstenberg Fin. SAS, 2018 WL


  about the impact of its participation in the foreign litigation by issuing a closely tailored discovery order rather
  than by simply denying relief outright.” Euromepa, 51 F.3d at 1101; The Seventh Circuit, which has decided
  substantially fewer Section 1782 cases, has followed the same approach. See Applications of Heraeus Kulzer v.
  Biomet Inc., 633 F.3d 591 (7th Cir. 2011) (“The district court’s second error was to turn down Heraeus’s
  discovery request flat, on the ground that compliance would be unduly burdensome to Biomet, without requiring
  Biomet to negotiate with Heraeus over cutting down the request to eliminate excessive burden and failing that
  to ask the district court to limit the scope of discovery.”).
  18
    See Heraeus Kulzer, GMBH v. Biomet, Inc., 633 F.3d 591, 595 (7th Cir. 2011) (“As indicated in one of the
  passages we quoted from the statute, discovery sought under section 1782 must (in the absence of a contrary
  order by the district court) comply with Rule 26 and the other rules governing discovery in federal courts.”).


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  3392882 (S.D.N.Y. Jul. 12, 2018), aff’d Paul v. Furstenberg Fin. SAS (In re Furstenberg Fin.

  SAS), 785 Fed.Appx. 882 (2d Cir. 2019). As the District Court for the Southern District of New

  York explained in a Section 1782 case involving a reasonably contemplated criminal complaint:

           The Objectors also argue that it is clear that the petitioners do not have any basis
           for bringing a criminal complaint in a Luxembourg court and therefore this
           application is simply a fishing expedition. . . . But that argument asks this Court to
           consider the merits of the foreign proceeding and determine whether the petitioners
           are likely to prove their damages in that case. This Court should not address such
           arguments in a § 1782 application. See Promneftstroy, 134 F. Supp. 3d at
           793 (declining to address the issue of whether the petitioner would have standing
           in a Dutch court and holding that it is “not within the Court’s purview to adjudge
           the scope, relevance, and precedential effect of Dutch cases on later Dutch
           proceedings”); see also Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1099
           (2d Cir. 1995) (“[I]it is unwise -- as well as in tension with the aims of [§] 1782 --
           for district judges to try to glean the accepted practices and attitudes of other nations
           from what are likely to be conflicting and, perhaps, biased interpretations of foreign
           law.”). The petitioners have asserted that they will bring a criminal proceeding and
           will submit the discovery they seek in this application for use in that proceeding.
           Their legal expert has asserted that the petitioners can allege damages sufficient to
           institute a criminal proceeding. The Objectors may be right that the petitioners may
           not ultimately recover any damages in the foreign proceeding, but this Court cannot
           decide the merits of the contemplated foreign proceeding when deciding an
           application under § 1782.

  Id. (docket references omitted).

     IV.       Conclusion

           Mr. Sabag has established that the statutory and discretionary factors strongly favor his

  request to depose Windhorst. Windhorst’s testimony would be highly “relevant” to Mr. Sabag’s

  criminal accusations against Windhorst. Solicitor Bibby’s affidavit provides an objective basis to

  suggest that Windhorst has in fact committed one or more criminal acts in the United Kingdom.

  Mr. Sabag therefor asks for Windhorst, who regularly travels internationally on his own private

  jet, to be ordered to personally appear in Indiana for a videotaped deposition (to be conducted in

  accordance with the Federal Rules of Civil Procedure) at a mutually acceptable time in the near

  future. Mr. Sabag consents to limit the discovery for use only in U.K. criminal proceedings, except



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  to the extent that Mr. Sabag seeks, and this Court grants, a modification of the protective order.

  Dated: October 11, 2022
                                                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 11, 2022, a copy of the foregoing document was filed
  electronically. Notice of this filing will be sent to the following parties by operation of the Court's
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